                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


ANGEL ECHAVARRIA,                    )
    Plaintiff                        )
                                     )      Civil Action No. 16-CV-11118
V.                                   )
                                     )
J. MICHAEL ROACH, et. al.            )
      Defendants,                    )
                                     )


                          NOTICE OF DEATH OF
                       DEFENDANT NORMAN ZUK
________________________________________________________________________

       Notice is hereby given of the death of Defendant Norman Zuk.



                                                   Respectfully submitted,


                                                   ___/s/ Brian Rogal___________
                                                   Brian Rogal, BBO #424920
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                             CERTIFICATE OF SERVICE

       I hereby certify that I have served a true copy of the foregoing document upon
each other attorney of record by the ECF system

January 27, 2017                                      /s/ Brian Rogal          .
